Case 5:99-cv-00496-XR Document53 _ Filed 08/08/05 Pagelof1

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS FILED
SAN ANTONIO DIVISION
Alig - 8 2005
UNITED STATES OF AMERICA ) PS A, court
ex rel. SUSAN STURROCK, ) CLE A Biaytr|or TEXAS
) BY ry CLERK
Plaintiffs, ) DEPUNY
)
VS. ) Civil Action No. SA: 99-CA-496-XR
)
TENET HEALTHCARE CORP. and )
SOUTHWEST GENERAL HOSPITAL, )
)
Defendants. )

ORDER

Pursuant to the Stipulation of Dismissal filed June 20, 2005, the Court DISMISSES this case

WITH PREJUDICE. Each party shall bear its own costs.

SIGNED this 8th day of August, 2005.

XAVIER RODRIGUEZ
UNITED STATES DISTRICT JUDGE

